Case 3:18-cv-01776-MEL Document 1 Filed 10/16/18 Page 1 of 16

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

FELIX LAHENS CIVIL NUM.:
PLAINTIFF
v.
CIVIL ACTION:
AT&T MOBILITY PUERTO RICO,
INC.; AT&T, INC. JURY TRIAL REQUESTED
DEFENDANTS

 

COMPLAINT

TO THE HONORABLE COURT:

Comes now Plaintiff, Felix J. Lahens, by and through his undersigned

attorney, and respectfully ALLEGES, STATES AND PRAYS:

I e
INTRODUCTION

1. This is an action for damages and equitable relief brought pursuant
to Age Discrimination in Employment Act ("ADEA"), 29 USC § 621 et seq.; as well
as Law No. 100, 29 LPRA §146 for employment discrimination based on age, Law
No. 80, 29 LPRA §185 for wrongful discharge, damages under Article 1802 of the
Puerto Rico Civil Code (31 LPRA 5141), and Law 115 of December 20, 1991 for
retaliation for having opposed unlawful practices; the Civil Rights Act of 1964
("Civil Right Act"), 29 USC § 621 et seq.;

2. Further, the facts set forth in the instant complaint constitute

violations of Plaintiffs employment rights protected by Section 1 of the
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Fourteenth Amendment to the Constitution of the United States of America; and,
are actionable under Title VII of the Civil Rights act of 1964, as amended (42
U.S.C. §2000e et. seq.), and Title I of the Civil Rights Act of 1991 (42 U.S.C.
§1981a), The Americans with Disabilities Act, (42 USC §12101).

3. This Court has subject matter jurisdiction over the federal claims
based on federal question jurisdiction, 28 USC §1331, 1343 and 1363, inasmuch
as it arises under 42 U.S.C. §2000e-5, 42 U.S.C. §1981a, 29 U.S.C. §206(d) and
29 U.S.C. §1132.

4. This Court has subject matter jurisdiction over the Commonwealth
claims based on pendent and/or supplemental jurisdiction. The claims brought .
under federal law, of age and disabilities discrimination, have sufficient
substance to confer subject matter jurisdiction to this Court. The state law
claims of age, retaliation, disabilities discrimination, wrongful discharge and
tortuous infliction of emotional distress arise out of the same nucleus of operative
facts as the federal claims, and a plaintiff would ordinarily be expected to try all
claims in one judicial proceeding. Furthermore, pursuant to 42 U.S.C. §1367(a),
this Honorable Court has supplemental jurisdiction over the pendent claims
raised herein by the Plaintiff, pursuant to Sections 1, 8 and 16 of Article II of the
Constitution of the Commonwealth of Puerto Rico, Law No. 100 of June 30,
1959, as amended (29 L.P.R.A. §146 et. seq.), Articles 1802 and 1803 of the Civil
Code of the Commonwealth of Puerto Rico (31 L.P.R.A §5141 and 5142), since
they are so related to the aforementioned federal claim that they all form part of

the same case or controversy under Article III of the Constitution of the United
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States of America. Plaintiff filed an EEOC complaint with the local EEOC office in
San Juan, PR, alleging discrimination under ADA and ADEA and retaliation on
March 27, 2018, and received notification of Right to Sue on October 2, 2018.

Please see Exhibit 1.

II.
PARTIES

5. Plaintiff Felix J. Lahens (“Lahens’) is a US Citizen and resident of
Trujillo Alto, Puerto Rico. He is sixty two years old, married, and has four
children. Lahens began working for DIRECTV PR, LLC in 2013 occupying the
position of Sales Training Manager. In 2017, AT&T, Inc. bought the publicly held
company DIRECTV, Inc., and Lahens became an employee of AT&T Mobility
Puerto Rico, Inc. Lahens is a graduate of Florida Institute of Technology, has
worked at senior level positions with top organizations and has extensive
experience on people development, training and client experience worldwide.
He is fluent in several languages.

6. Defendant AT&T Mobility Puerto Rico, Inc., (“AT&T”) operates as a
subsidiary of AT&T, Inc. AT&T is a corporation authorized to do business in the

Commonwealth of Puerto Rico. AT&T was Lahens’ employer for the last four

years.
Il.
FACTS
7. Lahens started to work at DIRECTV Puerto Rico Limited,

DIRECTV, in March 4, 2013, as Sales Training Manager, supervising two Sales

Training Specialists. His job was to create a sales training program that would

 
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boost sales performance in the areas of direct sales at points of sales, telesales,
and other sales channels within the market of Puerto Rico and US Virgin
Islands.

8. Shortly after being hired, Lahens presented a plan, named Sales
Excellence 777, with innovative ideas, and proposed a time frame of less than
two months to develop and execute improvements to the current sales training
activities.

9. However, the Training and Development Unit of the Human
Resources Department of AT&T procured an outside sales consultant to
provide a series of sales training activities to the direct sales force, which end
up undermining the success of the sales training program created by Lahens
and his training team.

10. Lahens quickly identified major flaws in the program of the outside
consultant and brought it to the attention of Belkys G. Mata Mayor, Director of
Sales and Marketing in AT&T and Senior Management of Lahens. Lahens
recommendation to cancel said contract produced conflict and controversy in
connection to Lahens performance as head of the sales training program for
DIRECTV under Mata Mayor.

11. Ironically, Lahens sales training program based on sales excellence
attracted the interest of sales leaders in Latin America and earned Lahens the
opportunity to attend a series of meetings in Buenos Aires, Argentina with

senior representatives from the DIRECTV in USA and Latin America.
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12. Upon returning from a trip to Argentina, Lahens continued to
propel initiatives and activities as head of the sales training program for
DIRECTV Puerto Rico. However, Mata Mayor, appointed a younger and less
experienced person to lead the Sales Excellence Program in Puerto Rico.

13. Although Lahens continued to do all the work related to the Sales
Excellence Program, the recently assigned younger person reported the results
as if she had led all of the efforts, including the creation of a Sales Coaching
Mobile Application that Lahens had to reformat in order to implement it in
Puerto Rico.

14. Mata Mayor undermined Lahens’ position within the company by
contacting his staff directly and by implementing sales training activities
without considering Lahens leadership role.

15. Mata Mayor also invited Lahens’ staff to meetings while excluding
him. Lahens objected and requested on many occasions to be included to sales
meetings but Mata Mayor did not consent. This practice of excluding Lahens
intensified when Lahens was diagnosed with a very serious liver disease which
required Lahens doctors in Puerto Rico referred him to seek medical care at
Houston’s Methodist Hospital.

16. Lahens went to Houston for said treatment, and thereafter, was
notified that he had been approved for a liver transplant. In January 29, 2016,
Lahens received a successful liver transplant.

17. Lahens reported back to work on April 4%. 2016, and was met with

a stronger hostile work environment, discriminatory treatment and a continued

 
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strategy of exclusion by Mata Mayor. Regardless of said unlawful and
discriminatory treatment by Mata Mayor, Lahens continued his efforts to
succeed and contribute.

18. Due to his post-transplant medical condition, Lahens required
monthly blood tests to monitor said condition. Lahens requested reasonable
accommodation to perform these blood tests, however, the Human
Resources Department declined his request for reasonable
accommodation.

19. Soon after his reinstatement back from surgery, on April 2016, and
fearing he would otherwise get fired, Lahens was forced to sign a form
accepting a demotion. In this new position, Lahens began reporting to Senior
Manager Natacha M. Rodriguez Colon. Ms. Mata Mayor was in turn promoted
to Executive Director. Lahens demotion officially got him out of attending staff
meetings under the Executive Director.

20. However, Giancarlo Capelli Santos, a younger Sales Training
Specialist less experienced employee (under Lahens supervision) did attend
staff meetings by special invitation of Ms. Mata Mayor. This situation created a
most serious and uncomfortable working environment as Lahens assistant
effectively became his boss. Lahens openly objected to this treatment however,
he was informed by his supervisor that he would be invited to such meetings
only as needed.

21. On December 2016, Lahens presented plans to further develop the

training program to Ms. Mata Mayor and Ms. Rodriguez. Lahens received

 

 
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instructions from Ms. Mata Mayor to discuss and include Lahens’ team in the
proposed plan which Lahens did on January 9, 2017, during a strategy
planning meeting on sales training for 2017. During said meeting, Lahens staff
members became very confrontational and rejected almost all of Lahens’ efforts
and ideas. They threatened that their position would be supported by Lahens
supervisor and her boss, Ms. Mata Mayor.

292. Following this meeting of January 9, 2017, Mr. Capelli filed an
internal complaint against Lahens frivolously alleging “harassment”. This
complaint in turn resulted in Lahens receiving a disciplinary warning which
included the possibility of being terminated if conduct was repeated. Lahens
filed a written response rebutting the unfounded allegations including a formal
communication from his lawyer.

23.On May 10, 2017, a day after Lahens traveled to Jacksonville,
Florida for a medical review, he was summoned to a meeting with his
supervisor, Natacha M. Rodriguez Colon. During this meeting, Lahens was
presented and ask to sign a disciplinary document. Lahens asked for a copy
before signing and Ms. Rodriguez Colon declined. While in Florida attending his
medical follow up, Lahens got an electronic mail from his supervisor attaching
the disciplinary document signed by the Executive Director, the Human
Resources Director, and his supervisor. Lahens was asked to sign and return it
to his supervisor.

94. Prior to Lahens departure for his medical review, Mr. Capelli

confided in Lahens that he regretted filing the complaint and also stated that
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management, specifically Lahens supervisor, Ms. Rodriguez Colon, the Executive
Director, Ms. Mata Mayor and the Human Resources Director had instructed him
to go forward with the complaint, notwithstanding his request to withdraw same.

25. During Lahens absence, his team designed a training material
which Lahens had disapproved in writing because this materials included
images, web posted promotions and copyright material from other companies.
Lahens decision to object the use of these materials, were quickly met with
strong retaliation from his supervisor and Lahens was instructed to refrain
from any intervention or he would be terminated.

26. As part of his medical condition, Lahens began experiencing
diabetes symptoms that required insulin injections and sporadic quick visits to
the hospital when experiencing elevated glucose levels. In response to these
absences, Ms. Mata Mayor retaliated against Lahens by excluding him from
sales activities and meetings even though Lahens was available. Meanwhile, his
assistant, Giancarlo Capelli Santos was officially invited in writing to these
meetings to discuss issues and matters that were more germane to Lahens’
responsibilities as the Sales Training Manager.

97. In June 2017, Lahens requested a meeting with José Juan Davila,
Vice-President/General Manager of AT&T Mobility Puerto Rico Incorporated,
with the purpose of presenting him innovative ideas to further and increase
sales performance. Davila rejected and refused to even consider any of Lahens’
proposals. Instead, he directed Lahens to seek job positions posted on the

company’s website, including some that were very more similar to Lahens’
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actual job, and which Lahens had already applied to and was already declined.
Lahens asked in writing for Davila’s help on the positions solicited but was met
with no response.

28. Although Lahens created an innovative sales approach that
guaranteed customer’s decision, deployed a method which increased the sales
performance dramatically and even achieved that one of the low performing
stores became next to the top store in sales, Ms. Mata Mayor selected Lahens
younger and less experienced staff employee to work with AT&T Senior Sales
Management on developing methodologies to boost sales, again using material
with copyright restrictions. Ms. Mata Mayor use of this practice had the
purpose of further alienating Lahens.

29. Upon the resignation of the person in charge of the Sales
Excellence Program in Puerto Rico, Lahens asked Mata Mayor to be assigned
same. Mata Mayor declined to respond and assigned important portions of
these responsibilities to Lahens assistant, Giancarlo Capelli Santos, in spite of
the fact that Capelli was younger and less experienced.

30. Lahens was dismissed from his employment on December 29,
2017.

IV

FIRST CAUSE OF ACTION
DISCRIMINATION UNDER THE AMERICANS WITH DISABILITIES ACT

42 USCA §12101
31. All allegations contained in paragraph 1 through 30 are incorporated

herein.
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32. Title I of ADA prohibits private employers, state and local
governments, employment agencies and labor unions from discriminating against
qualified individuals with disabilities in job application procedures, hiring, firing,
advancement, compensation, job training and other terms, conditions and
privileges of employment.

33. According to ADA, an individual with a disability is a person who has
a physical or mental impairment that substantially limits one or more major life
activities; has a record of such impairment; or is regarded as having such
impairment.

34. Under ADA, Lahens meets the prima facie case requirements.

35. Due to Defendant’s illegal and unlawful conduct under ADA, Plaintiff
is entitled to an amount of no less than $500,000, plus attorney’s fees.

V.
SECOND CAUSE OF ACTION:
VIOLATION TO 1 LPRA §501 (PUERTO RICO’S ADA)

36. All allegations contained in paragraph 1 through 35 are incorporated
herein, including relief requested.

37. Defendant’s conduct is also unlawful and illegal under Puerto Rico’s
anti-discrimination statute as provided for under 1 LPRA §501, and the Puerto
Rico’s Constitution.

VI.
THIRD CAUSE OF ACTION:
ARTICLE 1802 OF THE PUERTO RICO CIVIL CODE

38. All allegations contained in paragraph 1 through 37 are incorporated.

herein.

 
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39. Defendant’s conduct is in violation of the Puerto Rico Constitution
pursuant and according to Puerto Rico Supreme Case the case Arroyo _V.
Rattan, 117 D.P.R. 35, in violation of Article 1802 of the Puerto Rico Civil Code.
and for retaliation under Law 115 of December 20, 1991. Therefore, Plaintiff
has suffered damages that are conservatively estimated at $1,000,000.00.

VII.
FOURTH CAUSE OF ACTION:
RETALIATION

40. All allegations contained in paragraphs 1 through 39 are
incorporated herein. |

41.Defendant has and continues to observe discriminatory and
retaliatory conduct against Lahens in violation of Puerto Rico’s Law 115 of
December 20, 1991, and Title VII of the Civil Rights Act of 1964 as amended.

42. As a result thereof, Plaintiff is entitled to a sum no less than
$1,000,000.00.

VIil.
FIFTH CAUSE OF ACTION:
AGE DISCRIMINATION UNDER ADEA

43. All allegations contained in paragraphs 1 through 42 = are
incorporated herein.

44. Defendant constructively terminated Lahens’ employment even
though he performed his job at a level that met and exceeded his employer's
expectations.

45. Lahens was sixty two years old (62) years old when Defendant

constructively terminated his employment.
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46. But for Defendant's motive to discriminate against Lahens because
of his age, Plaintiff would not have been discharged and deprived of the benefits
of his employment.

47. Defendant's discrimination against Lahens based on age was willful.

A8. As a direct consequence of the discriminatory conduct of Defendant,
Lahens has suffered past and future lost wages and benefits in the amount of
$1,000,000.00. Moreover, Lahens is entitled to liquidate damages pursuant to 29
U.S.C. §626(b) in the amount of $1,000,000.00; and costs and attorney fees for
this action pursuant to 29 USC §626 (b) in an estimated amount of not less than
$300,000.00.

Ix.
SIXTH CAUSE OF ACTION:
AGE DISCRIMINATION UNDER 29 LPRA §146

49, All allegations contained in paragraphs 1 through 48 are
incorporated herein.

50. The acts of Defendant in constructively discharging Lahens and
depriving his of the benefits of his employment were due to the discriminatory
motive of Defendant based on the Plaintiff's age.

51. The acts of Defendant in constructively discharging Plaintiff were
without just cause.

52. As a result of the discriminatory acts of Defendant, Lahens has
suffered past and future lost wages and benefits in the amount of $1,000,000.00

and pain and suffering in the amount of $1,000,000.00, and attorney fees and

costs in an estimated amount of not less than $300,000.00.

 
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SEVENTH CAUSE OF ACTION:
WRONGFUL DISCHARGE PURSUANT TO 29 LPRA §185a
AND/OR IN VIOLATION OF COMPANY POLICY

53. All allegations contained in paragraphs 1 through 52 are
incorporated herein.

54. Plaintiff was an employee in commerce and industry for Defendant,
for which he worked for compensation under contract without a fixed time.

55. Defendant discharged Plaintiff from his employment without cause
pursuant to 29 LPRA §185a and/or in violation of company policy, which entitles

his to the approximate amount of $30,000.00.

XI.
PRAYER FOR RELIEF

WHEREFORE, it is respectfully requested that judgment be entered by this
Honorable Court in favor of Lahens against Defendant AT&T:

a) Granting Plaintiff all the sums requested in the Complaint and any other
relief on account of statute and/or equity in the form of pecuniary, punitive
damages and damages for emotional pain and suffering;

b) Imposing upon Defendant the payment of all costs and expenses to be
incurred in this lawsuit;

c) Granting Plaintiff any other relief that he may be entitled to as a matter
of law;

d) Awarding Plaintiff pre-judgment and post-judgment interest plus a
reasonable amount for attorney’s fees, and

(e) Plaintiff requests trial by jury.
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RESPECTFULLY SUBMITTED.

In San Juan, Puerto Rico, this 16% of October, 2018.

s/ANIBAL LUGO MIRANDA
US District Court No. 130013
268 AVE. PONCE DE LEON
THE HATO REY CENTER SUITE 507
SAN JUAN, PR 00918
TELEPHONE: (787) 765-9001
FAX (787) 765-9005
alm@lugomirandalaw.com

 
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GOBIERNO DE PUERTO RICO

s Departamento de! Trabajo y
Recursos Humanos

 

Hon. Carlos J. Saavedra Gutiérrez
Secretario ‘

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Félix José Lahens
Alamo Dr. E-33, Urb. El Alamo
Guaynabo, P.R 00969

ee

Felix José Lahens Vs.
AT &T Mobility PR, Inc. .

RE: uadau 18-110 c/ 16H-2018-00199c
Estimado (a) sefior (a):

. Nos referimos al desistimiento de las querellas ante la Unidad Antidiscrimen y la Equal
Employment Opportunity Comission y la solicitud de permiso para litigar sometida el 9 de agosto
de 2018, se autoriza y otorga el mismo. Se procede al cierre del caso ante la Unidad
Antidiscrimen y a notificar a la Equal Employment Opportunity Comission.

Agradeceremos que informe sobre el curso 0 el resultado del litigio.

Este cierre administrativo tiene fecha de efectividad al recibo de esta carta.

Cordialmente,

 

_ Ledo, Anfbal Lugo (Rep. Legal CP).
268 Ponce de Leén
The Hato Rey Center Suite 507

_ San Juan, P.R 00918

AT&T Mobility Puerto Rico, Inc. (R)
103 Oregon St.
Guaynabo, P.R 00966

Leda, Natalia Marin-Catala (Rep. Lega! R)
O'neill & Borges, LLC

American international Plaza

250 Mufioz Rivera Avenue, Suite 800
San Juan, P.R 00918-1813

UNIDAD ANTIDISCRIMEN

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_ EXHIBIT 1
1 OF 2
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\ GOBIERNO DE PUERTO RICO |

Departamento del Trabajo y
Recursos Humanos “

 

Hon. Carlos J. Saavedra Gutiérrez
Secretario

(Usberaore

Mr. Michael Farrell, Director
Equal Employment Opp. Commission
Miami District Office, Miami Tower
400 S..E., Second Street, ‘Suite 1500

_ Miami, FL 33131

-- RE: uadau-18-110 cl 16H-2018-00199c |
Felix José Lahens Vs.: °° ~~
AT &T Mobility PR, Inc.

Dear Mr. Farrell:

Enclosed please find copy of.a request for a Right-To-Sue letter sent on behalf of

charging party on August 9, 2018. We refer this to your attention in order for the Equal
Employment Opportunity Commission to grant such petition.

Sincerely,

ANTI-DISCRIMINATION UNIT

   

c _ Anlbal Ligo, Esq. (Rep. Legal CP)
. .. 268 Ponce de Leén
The Hato Rey Center Suite 507
San Juan, P-R 00918

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